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                                                                           States District Court
                                               IN                                                          YORK
                                         US DISTRICT COURT E.D.N.Y.
UNITED STATES OF AMERICA

                                         ^      MAR 2 8 2019                   ^       order of detention pending trial
  A                   -r- r                  RnnnKI YW OFFICE                          Case Number.5^ w anJ lOU Uv O
                                                                                                    l u b . hc/Y >7''
               In accordance with theBail Reform Act. 18U.S.C. §3142(0. a detention hearing has been held. I conclude that thefollowing facts
require the detention of the defendant pending trial in this case.

                                                                          Part 1 - Findings of Fact
      (1)Thedefendant ischarged with anoffense described in 18 U.S.C. §3142(0( I) and has been convicted of a (federal offense)
           (State or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction hadexisted)
                 that is
                     a crime of violence as defined in 18 U.S.C. §3156(a)(4).
                     an ofTense for which the maximum sentence is life imprisonment or death.
                     an ofTense forwhich a maximum term of imprisonment of tenyears or more is prescribed in                            .
                    a felony that was committed after thedefendant had been convicted of two or more prior federal offense described in
                      18 U.S.C. §3142(0(1)(A)-(C), or comparable state or local offenses.
      (2) Theoffense described in finding (1)was committed while the defendant was on release pending trial for a federal, state or local
               ofTense.
      ^(3) A period of not more than five years has elapsed since the (date ofconviction)(release of thedefendant from imprisonment)
                   for the ofTense described in finding (1).
        ^(4) Thedefendant hasnotrebutted the presumption established by finding Nos.( I), (2)and(3) that nocondition orcombination of
conditions will reasonably assure the safety of (an)other person(s) and the community.

                                                                          Alternative Findings (A)
        (1)      There is probablecause to believethat the defendant has committed an ofTense
                       for which a maximum term of imprisonment of tenyearsor more is prescribed in                            21 U.S.C. ti                                  .
                           under 18 U.S.C. §924(c).
        (2) The defendant has not rebutted the presumption established by finding (1)that nocondition orcombination ofconditions
                   willreasonably assure the appearance of the defendant as required and the safetyof the community.

                                                                  Alternative Findings (B)
         (1)      There is a serious risk that the defendant will not appear.

         (2)      There is a seriousriskthat the defendant will endanger the safety of anotherpersonor the community.



                                                         Part II - Written Statement of Reasons for Detention
       I find thatthe credible testimony and information submitted at the hearing establishes by apreponderance of theevidence/clear and
 convincing evidence that no conditions will reasonably assure defendant s appearance/the safetyofthecommunity because
      jydefendant lackssubstantial ties to the community,                    , .( . Cr j ^
               defendant is not a U.S. citizen and an illegal alien.                                                                         ^
         _^j^efendant has no stable history ofemployment. ;j, iw f / >' ( • '                                                                    ''    / ; ' k 1/ d
               defendant presented no credible sureties to assure his appearance.                     •          ,   '       ' '        • - s-        ; /(       A-
                  but leave is granted to reopen and present a bail package in the future.
               defendant's family resides primarily in                                                                   .                                   _   /               /   '
  /                        r / /.' " Vn I If 7               /-     . •                7- •       t        t/i/b-             ; / / fi-A i       r', ! /l I. /.'/ {, i'
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                                                                 Part III - Directions Regarding Detention
         The defendant is committed to thecustody of the Attomey General or hisdesignated representative forconfinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
 shall be a^orded a reasonable opportunity for private consultation with defense counsel. On order ofacourt ofthe United States oron request
 of an attorney fortheGovernment, the person in charge of thecorrections facility shall deliver thedefendant to the United States marshal for
  the purpose of an appearance in connection with a court proceeding.

  Dated:                       J(r,20l^                                                        s/Dora L. Irizarry, Chief USDJ
                /[Jrooklyn. New York
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